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            STATE OF NEW YORK
            SUPREME COURT COUNTY OF SCHENECTADY

            ILEEN VARNO,

                                                                          COMPLAINT
                                            Plaintiff,

                    -against-                                             Index No.: 2022-2

            COUNTY OF SCHENECTADY,MICHAEL GERACI,
            DOMINIC DAGOSTINO,JAMES BARRETT,

                                            Defendants.



                    Plaintiff, Ileen Varno, by and through her attorneys, as and for her Complaint

             against defendants, alleges:

                 1. At all times hereinafter mentioned, the plaintiff, Ileen Varno, was and still is a

                    resident of the County of Schenectady, State of New York.

                2. At all times hereinafter mentioned, the defendant, County of Schenectady, was

                    and is a municipal corporation and County as defined under New York Law and

                    has its principal place of business located at 620 State St, Schenectady, NY

                     12305.

                3. Upon information and belief, at all times hereinafter mentioned, the defendant

                    Michael Geraci was and still is a resident ofthe County of Albany, State of New

                    York.
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               4. Upon information and belief, at all times hereinafter mentioned, the defendant

                    Dominic Dagostino was and still is a resident of the County of Schenectady, State

                    of New York.

               5. Upon information and belief, at all times hereinafter mentioned, the defendant

                    James Barrett was and still is a resident ofthe County of Schenectady, State of

                    New York.

               6. Prior to her wrongful termination, plaintiff was employed as the supervisor and

                    head of the Civil Division within the Schenectady County Office of the Sheriff.

               7. At the time of plaintiff's termination, defendant Michael Geraci was the Patrol

                    Lieutenant of the Schenectady County Office of the Sheriff.

               8. At the time of plaintiff's termination, defendant Dominic Dagostino was the

                    Sheriff of the Schenectady County Office ofthe Sheriff.

               9. At the time of plaintiff's termination, defendant James Barrett was the

                    Undersheriff of the Schenectady County Office of the Sheriff.

               10. The nature of this action is:


                    Violation of civil rights, gender discrimination, workplace violence and retaliation
                    under the New York State Human Rights Law and PESH laws

                    Aiding and abetting civil rights violations

                    Wrongful discharge

                    Constructive discharge

               -    Hostile work environment

               -    Sexual harassment

               -    Violation ofrights related to need to take time off due to a COVID exposure
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              -    Violation of rights and retaliation related to need to obtain help from EAP for
                   counseling and suffering caused by toxic workplace

              -    Breach of Contract: employer failed to follow requirements of collective
                   bargaining agreement and policies/protocols for progressive discipline and
                   provisions related to termination

               1 1. More specifically, this action seeks to hold defendants responsible for their

                   discrimination, harassment, and wrongful termination of plaintifffrom

                   employment after she took protected medical leave; after she reported gender

                   discrimination, bullying and harassment; and, after she sought out assistance from

                   EAP to deal with the discrimination and the hostile work environment fostered,

                   created and condoned by defendants.

               12. The work environment at the Schenectady County Office ofthe Sheriff has long

                   been a "boy's club" in which insults toward women and disrespect toward women

                   is the norm.

               13. Simply stated: the "men" handle the "police work" while the women are

                   expected to do the paperwork and handle the secretarial work.

               14. As another example, women are routinely referred to as "bitches" or "cunts" by

                   the male supervisors and named defendants in this case.

               15. Specifically, for example, the former county manager was referred to by the

                   Sheriff and Undersheriff as "the cunt on the sixth floor" or many times just "the

                   cunt." This was routine and common practice. Meanwhile, the current County

                   Manager(since April 2019)is called "Rory" since he is a man, and, his name is

                   Rory. It is noteworthy, however,that the female Deputy County Manager is often

                   referred to as "the bitch" or "bitch" by the Sheriff, Undersheriff and defendant

                   Geraci.
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               16. As another example, the Sheriff for several years, and at all points in time up until

                   plaintiff was terminated, referred to plaintiff as "honey" or "darling" or other

                   similar names, and, with frequency and regularity he would request that plaintiff

                   rub his back, rub his shoulders or neck, or massage his head. Plaintiff felt

                   obligated to give in to these demands even though it made her uncomfortable.

                   Plaintiff has never seen or heard of the Sheriff asking any men that work for him

                   to engage in this behavior.

               17. At the time of plaintiff's termination there was just one female patrol deputy and

                   one female investigator. Women were not given a chance in the department to

                   become supervisors compared to men.

               18. Even though the work environment was discriminatory and unfair with regard to

                   the treatment toward women,plaintiff worked dutifully in her job for nearly 20

                   years and was a stellar employee with an excellent track record: no write ups; no

                   discipline; nothing but positive reviews and promotions.

              19. The Civil Division had flourished under her guidance and supervision: even

                   though the office was mostly involved with paperwork and therefore was staffed

                   mostly with women,the office ran smoothly for many years until defendant

                   Geraci became involved with the Civil Division.

              20. Defendant Geraci did not like to be challenged by women,including but not

                   limited to plaintiff.

              21. Even though it was in the job description of Patrol Officers, defendant Geraci and

                   Undersheriff Barrett wanted the staff in the Civil Division to enter information for

                   process serving and other tasks. Both Geraci and Barrett referred to the work as
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                                       "woman's work" and stated that it should be done by plaintiff and her female

                                         staff.

                                 22. When plaintiff complained about this language and discrimination toward her and

                                         her staff she was ignored.

                                 23. Further, after she complained about changes in the work and discriminatory

                                         remarks, she had job duties taken away, had her hours changed, and was

                                        constantly intimidated by defendant Geraci and the Undersheriff.

                                 24. When she further protested she had her title as supervisor and head of the Civil

                                         division taken away.

                                 25. At the same time these issues arose and discrimination and retaliation became

                                         more evident, plaintiff happened to be placed in Quarantine by the Schenectady

                                        County Public Health Director due to the Covid-19 pandemic. The Quarantine

                                         Order required plaintiff to stay home from April 7, 2021.

                                 26. Despite this Order, plaintiff was criticized for calling out of work and was told by

                                         Undersheriff Barrett to return to work since she was vaccinated.

                                 27. Plaintiff protested and repeated that she had informed the Health Department of

                                         her vaccination status and yet she still had an Order stating that she was to stay

                                         home. Plaintiff stated she just wanted to be safe.

                                 28. On or about April 13, 2021 plaintiff discussed the hostile work environment,

                                        discrimination, and bullying with her union leadership.

                                 29. On April 14, 2021, plaintiff requested FMLA paperwork to deal with the

                                        harassment and hostile work environment.
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               30. Plaintiff also began treatment through EAP on April 14, 2021 to deal with

                    workplace hostile work environment.

               31. Plaintiff continued to be harassed and asked to return to work during her Covid

                    quarantine. Due to the stress she requested and was approved for medical leave

                    due to the stress.

               32. On April 19, 2021 defendant Geraci went into the Civil Division and announced

                    to the workforce that plaintiff no longer worked there. Defendant Geraci

                    proceeded to dismantle plaintiff's desk and packed up her belongings and

                    personal items. It is noteworthy that, at this time plaintiff was still treating with

                    her EAP counselor and had been on medical leave for workplace stress and

                    hostile work environment.

               33. Plaintiff was a member of a union and her collective bargaining agreement

                    required progressive discipline to terminate her for cause.

               34. Despite these supposed protections, on April 20,2021 plaintiff was informed that

                    her position was abolished by the Sheriff.

               35. The Sheriff does not have the authority to abolish a position. Subsequently, at the

                    May 11, 2021 meeting of the Schenectady County Legislature, plaintiff's position

                    was abolished by formal resolution while plaintiff was still out on medical leave

                    and receiving treatment for workplace discrimination and stress. (Resolution 53-

                    21 available online).

               36. Plaintiff filed a workplace violence complaint and, while making that complaint,

                    specifically stated that she was the victim of gender discrimination retaliation and

                    bullying.
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               37. On May 13, 2021 plaintiff asked the County to supplement the complaint after the

                    Undersheriff told the County Attorney that Deputy County Manager was only

                    siding with her "because I have a vagina".

                38. Plaintiff and her union repeatedly followed up regarding the workplace violence

                    complaint but were ignored.

                39. Plaintiff did not receive and has never received any charges in writing or been

                    given any chance to contest any allegations of alleged misconduct under the

                    collective bargaining agreement. The County has therefore waived any right to

                    demand arbitration.

                40. Plaintiff has been stripped of her dignity and discarded without any due process.

                41. The individual defendants each possess sufficient authority to affect personnel

                    decisions, and are individually liable for acts of discrimination and retaliation

                    because they conspired against plaintiff; condoned offensive behavior; and

                    actively discriminated and retaliated against plaintiff.

                42. Thus, the individual defendants are liable as co-conspirators, as "Employers" and

                    as aiders and abettors. The individual defendants are therefore jointly and

                    individually liable because they directly participated in, conspired, and aided and

                    abetted the discrimination and retaliation against plaintiff.

                43. The individual defendants are also liable because they are policymakers for the

                    purpose of implementing the County's unconstitutional and unlawful decisions,

                    policies and customs.

                44. Defendant County is vicariously liable for the actions of its agents/supervisors.

                    The County is liable for the actions of the individual defendants because the
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                      County sets policy and makes decisions with regard to the employment of

                      plaintiff and through their actions the County is deemed to have condoned,

                      accepted and approved of the discrimination and retaliation suffered by plaintiff.

                45. The County is also liable because the individual defendants(a) were not properly

                      educated or trained concerning discrimination, harassment and retaliation;(b) had

                      inadequate protocols in place for investigating claims of discrimination and

                      retaliation;(c)refused to undertake a prompt and thorough investigation of the

                      claims of discrimination and retaliation;(d)failed to take effective remedial and

                      corrective action;(e)treated plaintiff as though she was the one that did

                      something wrong by making a protected complaint;(f) refused to educate its

                      employees and supervisors about the need to avoid retaliation;(g)refused to

                      apologize to plaintiff or otherwise send a message that discrimination and

                      retaliation would not be tolerated and is unacceptable in the workplace;(h)

                      retaliated against plaintiff; and (i) with regard to defendant Geraci, knowingly

                      hired an individual with a track record of abusing his power and position to

                      violate the rights of others.

                                             FIRST CAUSE OF ACTION

                     (NYS Human Rights Law, Schenectady County Law and Covid Protections)

                46. Plaintiff repeats and incorporates by reference all allegations in all preceding

                      paragraphs.

                47. By the acts and practices described above, the defendants have discriminated

                      against plaintiff in the terms and conditions of her employment on the basis of
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                    gender, disability, and Covid protected status under the New York Human Rights

                    Law and Schenectady County Law.

               48. Plaintiff has also been subjected to retaliation and wrongful termination for

                    speaking out against the manner in which she was treated in the workplace.

                    Based upon the foregoing, defendants are hereby charged with violation ofthe

                    New York State Human Rights Law and protections related to protected Covid

                    leave.

               49. Plaintiff respectfully requests an award of damages to compensate her for the

                    emotional and physical harm, damage to reputation, loss of enjoyment of life,

                    embarrassment, and humiliation she has suffered and will continue to suffer.

                50. Plaintiff respectfully requests an award of damages to compensate her for

                    compensation and benefits she has lost and continues to lose.

                51. Plaintiff also requests an award of attorneys' fees, costs and disbursements.

                52. Finally, Plaintiff requests an award of punitive damages because the

                    discrimination and harassment outlined above was malicious and/or reckless acts.



                                         SECOND CAUSE OF ACTION

                                        (Claims under NYS Constitution)

                53. Plaintiff repeats and incorporates by reference all allegations in all preceding

                    paragraphs.

                54. The Equal Protection Clause of both the New York State Constitution protects

                    public employees from various forms of discrimination, including discrimination

                    on the basis of gender, as well as retaliation for complaints about violation of
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                    constitutional rights.

               55. By the acts and practices described above, defendants have discriminated against

                    plaintiff in the terms and conditions of her employment on the basis of gender.

               56. Defendants acted under color ofthe law and with a deliberate indifference to the

                    rights of plaintiff.

               57. Plaintiff has also been subjected to retaliation and wrongful termination for

                    speaking out against the manner in which she was treated in the workplace.

               58. Based upon the foregoing, all defendants are individually and jointly liable for the

                    violation of plaintiff's constitutional rights.

               59. Plaintiff respectfully requests an award of damages to compensate her for the

                    emotional and physical harm, damage to reputation, loss of enjoyment of life,

                    embarrassment, and humiliation she has suffered and will continue to suffer.

               60. Plaintiff respectfully requests an award of damages to compensate her for

                    compensation and benefits she has lost and continues to lose.

               61. Plaintiff also requests an award of attorneys' fees, costs and disbursements.

               62. Finally, Plaintiff requests an award of punitive damages because the

                    discrimination and harassment outlined above was malicious and/or reckless acts.

                                             THIRD CAUSE OF ACTION

                                                (Breach of Contract)

               63. Plaintiff repeats and incorporates by reference all allegations in all preceding

                    paragraphs.

               64. As set forth above, plaintiff is supposedly protected under a collective bargaining

                    agreement in which she can only be removed for cause.
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                              65. Plaintiff was not given notice of alleged misconduct or wrongdoing or an

                                    opportunity to be heard under the contract.

                              66. Defendant breached the contract and therefore has waived any right to enforce its

                                    rights including but not limited to demanding arbitration.

                              67. Defendant breached the contract by firing plaintiff and abolishing her position

                                    without just cause and without due process.

                              68. Plaintiff therefore request money damages in an amount to be decided by a jury;

                                    lost wages; economic loss; reinstatement; and, attorneys' fees.



                         WHEREFORE,Plaintiff demands damages in an amount to be decided by a jury; pain

                         and suffering; lost wages; economic loss; punitive damages; reinstatement; attorneys'

                        fees, together with interest, costs, disbursements, and other equitable relief the Court

                         deems just and proper.

                         DATED: February 3, 2022

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